                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     BRANDON HARVEY,                                   Case No. 18-cv-02835-WHO
                                                        Plaintiff,
                                   8
                                                                                           ORDER GRANTING PLAINTIFF’S
                                                 v.                                        MOTION FOR PRELIMINARY
                                   9
                                                                                           APPROVAL OF CLASS ACTION
                                  10     MORGAN STANLEY SMITH BARNEY                       SETTLEMENT
                                         LLC,
                                  11                                                       Re: Dkt. No. 48
                                                        Defendant.
                                  12
Northern District of California
 United States District Court




                                  13          This matter came before the Court on June 12, 2019, with Edward J. Wynne, Wynne Law

                                  14   Firm, James F. Clapp, Clapp & Lauinger, LLP, and Jeffrey K. Compton, Markun Zusman Freniere

                                  15   & Compton, LLP, respectively, appearing as counsel for Plaintiff Brandon Harvey, individually

                                  16   and on behalf of a putative class and aggrieved employees, Andrew R. Livingston, Jinnifer

                                  17   Pitcher, and Katie E. Briscoe for Orrick, Herrington & Sutcliffe LLP, appearing as counsel for

                                  18   Defendant Morgan Stanley Smith Barney LLC (“MSSB”) (Harvey and MSSB are collectively the

                                  19   “Parties”), and Jahan C. Sagafi for Outten & Golden LLP, and Mark F. Huminek of Haber Polk

                                  20   Kabat LLP on behalf of proposed intervenors Tracy Chen and Matthew Lucadano (the “Proposed

                                  21   Intervenors”). The Court, having considered the briefs, arguments of counsel and all matters

                                  22   presented to the Court, and good cause appearing therefore, IT IS HEREBY ORDERED THAT:

                                  23          1. This Court preliminarily approves the Settlement Agreement (“Settlement” or

                                  24              “Settlement Agreement”) and finds that the Settlement is within the range of

                                  25              reasonableness as to both the Class Members and Defendant, and that it is the product

                                  26              of good faith, arm’s length negotiations between the Parties.

                                  27          2. This Order incorporates by reference the definitions in the Settlement Agreement, and

                                  28              all terms defined therein shall have the same meaning as set forth in the Settlement
                                   1            Agreement.

                                   2   Adequacy and the Arguments of Proposed Intervenors

                                   3         3. It appears to the Court on a preliminary basis that: (a) the non-reversionary settlement

                                   4            amount is fair and reasonable to the Class Members when balanced against the

                                   5            probable outcome of further litigation relating to class certification, liability and

                                   6            damages issues and potential appeals; (b) significant investigation, research, formal

                                   7            and informal discovery, analysis, and litigation have been conducted such that counsel

                                   8            for the Parties at this time are able to reasonably evaluate their respective positions; (c)

                                   9            settlement at this time will avoid substantial costs, delay and risks that would be

                                  10            presented by the further prosecution of the litigation; and (d) the proposed Settlement

                                  11            has been reached as the result of intensive, serious and non-collusive negotiations

                                  12            between the Parties facilitated by an experienced mediators.
Northern District of California
 United States District Court




                                  13         4. With regards to the argument by the Proposed Intervenors that the proposed settlement

                                  14            between the parties is a “reverse auction,” I disagree. “A reverse auction is said to

                                  15            occur when ‘the defendant in a series of class actions picks the most ineffectual class

                                  16            lawyers to negotiate a settlement with in the hope that the district court will approve a

                                  17            weak settlement that will preclude other claims against the defendant.’ It has an air of

                                  18            mendacity about it.” Negrete v. Allianz Life Ins. Co., 523 F.3d 1091, 1099–1100 (9th

                                  19            Cir. 2008) (quoting Reynolds v. Beneficial Nat'l Bank, 288 F.3d 277, 282 (7th Cir.

                                  20            2002)). That a defendant is simply discussing settlement with the plaintiffs in parallel

                                  21            proceedings is insufficient to establish that an impermissible “reverse auction” has

                                  22            occurred because it “would lead to the conclusion that no settlement could ever occur

                                  23            in the circumstances of parallel or multiple class actions—none of the competing cases

                                  24            could settle without being accused by another of participating in a collusive reverse

                                  25            auction.” Id. at 1099–1100 (quoting Rutter & Wilbanks Corp. v. Shell Oil Co., 314 F.3d

                                  26            1180, 1189 (10th Cir. 2002)). Courts look for a showing of impropriety to find that a

                                  27            reverse auction is occurring. See Smith v. CRST Van Expedited, Inc., 10–CV–1116–

                                  28            IEG WMC, 2012 WL 5873701, at *4 (S.D. Cal. Nov. 20, 2012) (rejecting “reverse
                                                                                       2
                                   1      auction” argument where intervenor made no showing of impropriety and court found

                                   2      that intervenor “simply appear[ed] unhappy that his was not the class [defendant] chose

                                   3      to settle with”).

                                   4   5. The circumstances giving rise to this proposed settlement and the settlement amount do

                                   5      not show that a “reverse auction” occurred for at least the following reasons:

                                   6          a. Harvey’s counsel cannot be classified as ineffectual class counsel. They have

                                   7              litigated many claims in this area of law. Clapp declares that since 1999, his

                                   8              practice has focused almost exclusively on plaintiffs’ employment and

                                   9              consumer litigation and that he has served as class counsel in more than 80

                                  10              certified class actions, with approximately 15 of them being against brokerage

                                  11              houses seeking recovery of business expenses and unpaid wages on behalf of

                                  12              financial advisors. Declaration of James F. Clapp in Support of Plaintiffs
Northern District of California
 United States District Court




                                  13              Motion for Preliminary Approval at ¶ 2 [Dkt. 48-1]. Wynn states that he has

                                  14              engaged in class action prosecution of wage and hour laws in both state and

                                  15              federal court for the past twenty-five years and that he has litigated similar

                                  16              cases against financial services firms on behalf of financial advisors, such as

                                  17              this one. Declaration of Edward J. Wynne in Support of Motion for

                                  18              Preliminary Approval of Class Action Settlement at ¶¶ 3, 10-11 [Dkt. No. 48-

                                  19              2].

                                  20          b. The Parties engaged in meaningful discovery prior to settlement. Harvey states

                                  21              that MSSB has produced nearly 2,000 pages of documents related to: all

                                  22              versions of the Financial Advisor Compensation Plan, all versions of MSSB’s

                                  23              AFG Program, all versions of MSSB’s AFG Process, all versions of MSSB’s

                                  24              Expense Policy, all policies and procedures related to Financial Advisor

                                  25              compensation and adjustments made to compensation, and the plaintiff’s entire

                                  26              personnel and payroll file. MSSB also provided data on the number of

                                  27              Financial Advisors covered by the case, the total amount allocated to AFG

                                  28              broken down by category of expense and by year, and the number of Financial
                                                                                 3
                                   1      Advisors covered by arbitration agreements and whether they were current or

                                   2      former Financial Advisors. MSSB has produced data sets reflecting: (1) the

                                   3      total dollar amount that putative class members directed MSSB to allocate to

                                   4      AFG; (2) the amount of expenses incurred from AFG, itemized by category of

                                   5      expense; (3) information related to approval of expenses; and, (4) class wide

                                   6      statistics for the putative class members, including employment status,

                                   7      workweeks, and pay periods.

                                   8   c. The Parties participated in arm’s-length mediation. They met with Tripper

                                   9      Ortman on November 8, 2018, November 19, 2018, and November 21, 2018.

                                  10      On the third date, and before reaching an agreement to resolve the dispute, they

                                  11      approached counsel for the Proposed Intervenors who are litigating a similar

                                  12      case with PAGA-only claims in Chen v. Morgan Stanley Smith Barney (Orange
Northern District of California
 United States District Court




                                  13      County Superior Court Case No. 30-2014-00724866-CU-OE-CXC) in order to

                                  14      attempt to reach an agreement to provide a global resolution of this case and

                                  15      Chen with an additional payment for the portion of the Chen limitations period

                                  16      not previously covered by Harvey and to compensate Proposed Intervenors’

                                  17      counsel for the fees and costs of litigating Chen. On January 18, 2019, the

                                  18      Parties and Proposed Intervenors attended a joint mediation with Ortman and

                                  19      Mark Rudy, the original mediator in Chen. Although the joint mediation was

                                  20      unsuccessful, it cannot be said that the Parties negotiated in secret or attempted

                                  21      to cut out the Proposed Intervenors.

                                  22   d. The non-reversionary and non-claims-made $10,235,000 gross settlement fund

                                  23      consisting of $8,500,000 in cash, as well as $1,735,000 in future immediate

                                  24      payments of business expenses to pay categories of expenses for current

                                  25      California financial advisors that otherwise could have been submitted to the

                                  26      AFG program compares favorably to other recent settlements reached on behalf

                                  27      of financial advisors in California:

                                  28          i. In Tsyn v. Wells Fargo, 14-cv-02552-LB (N.D. Cal.) the court approved
                                                                         4
                                   1                             a $9,500,000 settlement on November 1, 2018. There, in addition to

                                   2                             claims for unreimbursed business expenses in a similar program to

                                   3                             MSSB’s AFG, the plaintiffs also alleged that they were misclassified as

                                   4                             exempt and also were owed overtime. The settlement in Tsyn equated

                                   5                             to approximately $72.72 per work month, while the proposed settlement

                                   6                             here equates to $94.64 per work month. The proposed settlement

                                   7                             represents 6.6% of MSSB’s total exposure while the settlement in Tsyn

                                   8                             was 5.75%.1

                                   9                         ii. In Brecher v. Citigroup Global Markets, Inc., 09- cv-1344 (S.D. Cal.)

                                  10                             the plaintiffs brought claims for unlawful forfeiture of benefits and

                                  11                             unreimbursed business expenses under California Labor Code § 2802

                                  12                             for payments made to support staff. A $3,700,000 non-reversionary
Northern District of California
 United States District Court




                                  13                             settlement was approved on behalf of a 1,006 person class on February

                                  14                             2, 2015. 66% of the settlement was attributed to the expense

                                  15                             reimbursement claim and participating class members received $3,171

                                  16                             on average.2 Here, the average payment is expected to be $3,595.

                                  17                        iii. In Litty v. Merrill Lynch & Co., Case No. BC582127 (L.A. Sup. Ct.) on

                                  18                             November 2, 2016, the court approved a $2,465,000 class action

                                  19

                                  20
                                       1
                                         The Proposed Intervenors dispute the Parties’ calculation of exposure in Tsyn. The settlement
                                       there allocated $38 million to Wells Fargo’s version of AFG. Therefore, the Proposed Intervenors
                                  21   argue that the settlement there represented 25% of total exposure. Brief of Amici Curiae Tracy
                                       Chen and Matthew Lucadano in Opposition to Plaintiff’s Motion for Preliminary Approval at 16
                                  22   [Dkt. No. 52]. But according to Harvey, financial advisors at Wells Fargo paid sales assistants
                                       $127 million outside of its version of AFG that also are a part of Wells Fargo’s total exposure.
                                  23
                                       The Proposed Intervenors also argue that the proposed settlement should be extrapolated out to the
                                  24   date of preliminary approval. Harvey counters that even if this is true, the additional months of
                                       time change the exposure under the § 2802 claim to $193,000,000, resulting in a per work month
                                  25   recovery of $80.78, which is still superior to the $72.72 in Tsyn, and with the percent of exposure
                                       changing to 5.25% here compared to the 5.75% in Tsyn.
                                  26   2
                                         The settlement in Brecher involved different settlement subclasses. 60% was paid to members
                                  27   of the business expense class who did not sign a release, 25% was paid to those who did sign a
                                       release. The proposed settlement would not pay different amounts to financial advisors who
                                  28   signed a release or arbitration agreement.

                                                                                        5
                                   1              settlement reached on behalf of 2,501 person class. The Litty complaint

                                   2              alleged claims for unreimbursed business expenses under Labor Code §

                                   3              2802 and derivative claims under the UCL and PAGA. The average

                                   4              settlement in Litty was $1,147 per class member. This is less than half

                                   5              the average amount in the proposed settlement.

                                   6   e. The Proposed Intervenors cite a number of cases that settled for significantly

                                   7      higher amounts and at higher percentages of total exposure, but the cases listed

                                   8      above are better comparators. The Proposed Intervenors’ cases had higher

                                   9      exposure for the defendants because they contained claims for unpaid overtime

                                  10      that are not alleged in Harvey. Moreover, they are older and predate changes in

                                  11      the legal landscape that made these types of lawsuits less lucrative. For

                                  12      example, a 2006 opinion letter from the U.S. Department of Labor held that
Northern District of California
 United States District Court




                                  13      financial advisers were administratively exempt from the FLSA, making

                                  14      overtime claims less valuable than before. Claims for unlawful wage

                                  15      deductions under Labor Code §§ 221-224 are also less valuable. In the past,

                                  16      financial services firms’ compensation plans did not clearly specify when

                                  17      commissions became “earned,” making the plans vulnerable to attack as

                                  18      creating unlawful wage deductions. Then courts affirmed that the earning of

                                  19      commission wages was dictated by the terms of the compensation plan. See

                                  20      DeLeon v. Verizon Wireless, LLC, 207 Cal. App. 4th 800, 808 (Cal. Ct. App.

                                  21      2012) (right to commissions depends upon the terms of the contract for

                                  22      compensation); Nein v. HostPro, Inc., 174 Cal. App. 4th 833, 853 (Cal. Ct.

                                  23      App. 2009) (same); Koehl v. Verio, Inc., 142 Cal. App. 4th 1313, 1330 (Cal. Ct.

                                  24      App. 2006) (same); Steinhebel v. Los Angeles Times Commc’ns, LLC, 126 Cal.

                                  25      App. 4th 696, 704 (Cal. Ct. App. 2005) (charge-back of commission advances

                                  26      against their future advances on commission does not violate the law where

                                  27      plaintiffs executed acknowledgements indicated they read and understood the

                                  28      compensation plan). This allowed brokerage firms to restructure their
                                                                         6
                                   1                      compensation plans to be less vulnerable to challenge by clarifying that expense

                                   2                      reimbursement programs were now “voluntary” and funded through a reduction

                                   3                      in the financial advisor’s pay before commissions were earned, rather than

                                   4                      deducted from commissions. The combined effect of firms claiming that their

                                   5                      California financial advisors were primarily engaged in advising (rather than

                                   6                      selling, so as to exempt them from overtime) and the restructuring of

                                   7                      compensation plans has led to a lower amount of exposure for financial firms.

                                   8                      These factors make the cases relied on by Proposed Intervenors less useful as

                                   9                      comparators to this one.3

                                  10                  f. The PAGA payment of $600,000 is also consistent with (or indeed higher than)

                                  11                      the amounts awarded by other courts. For instance, in Tsyn, the court approved

                                  12                      a $20,000 allocation to the LWDA. The case cited by the Proposed Intervenors
Northern District of California
 United States District Court




                                  13                      at the hearing, Magadia v. Wal-Mart Assocs., Inc., 384 F. Supp. 3d 1058 (N.D.

                                  14                      Cal. 2019) (Koh, J.), is distinguishable because of its procedural posture (an

                                  15                      award after a bench trial) and the number of employees involved (between

                                  16                      51,824 and 75,791 aggrieved employees, depending on the violation). In tha

                                  17                      case, the Hon. Lucy Koh awarded $53,901,700 in PAGA penalties.4 The

                                  18                      PAGA claim for meal break violations was valued at $1.35 per employee, the

                                  19                      PAGA claim based on wage statements was valued at $86.08 per employee,

                                  20                      and the PAGA claims based on overtime violations was valued at $633.97 per

                                  21
                                       3
                                  22     The only recent settlement that compares less favorably than the three cases discussed above is
                                       McLeod v. Bank of America, 16-cv-3294 (N.D. Cal.). There, the parties settled for $11,000,000,
                                  23   representing roughly 50% of the total exposure on mileage reimbursement claims for mortgage
                                       loan officers use of their own personal vehicles. But the McLeod plaintiffs were in a much
                                  24   stronger position than the plaintiffs are here because their settlement followed class certification
                                       and after the Ninth Circuit rejected the defendants Rule 23(f) petition.
                                  25   4
                                         The Proposed Intervenors make exceptionally high estimates for the value of the PAGA claims
                                  26   here, even in relation to Magadia. The award there was less than a quarter of the Proposed
                                       Intervenors lower estimate of the PAGA exposure here ($210,200,000) and roughly 8% of their
                                  27   higher estimate ($437,500,000), even though this case has a fraction of the employees. The
                                       Proposed Intervenors’ estimates dwarf the amount of PAGA payments typically made by courts in
                                  28   this state.

                                                                                         7
                                   1                    employee. Here, the proposed settlement is split across two PAGA periods.

                                   2                    $500,000 is allocated to the Tier 1 PAGA period between April 23, 2013 to

                                   3                    May 9, 2014, representing a recovery of $18.02 per pay monthly pay period and

                                   4                    roughly $228 per employee during that time.5 $100,000 is allocated to the Tier

                                   5                    2 PAGA period spans from May 9, 2014 to the present. The recovery under

                                   6                    Tier 2 is lower because the aggrieved employees in Tier 2 also fall within the

                                   7                    class period and would recover from the larger cash payment amount in the

                                   8                    Proposed Settlement. Courts routinely apply a “sliding scale” approach to

                                   9                    PAGA penalties where there is a hybrid settlement that includes a Rule 23

                                  10                    claim and a PAGA claim, and “the purposes of PAGA may be concurrently

                                  11                    fulfilled.” O’Connor v. Uber Techs., Inc., 201 F. Supp. 3d 1110, 1134 (N.D.

                                  12                    Cal. 2016) (Chen, J.). Chen is a PAGA only case; the aggrieved employees in
Northern District of California
 United States District Court




                                  13                    Tier 2 here would recover under a hybrid settlement that includes both their

                                  14                    Rule 23 claim and their PAGA claim.

                                  15                 g. Finally, relief to the class and aggrieved employees would be faster and more

                                  16                    certain than what the Proposed Intervenors offer in their related state court case,

                                  17                    Chen v. Morgan Stanley Smith Barney (Orange County Superior Court Case

                                  18                    No. 30-2014-00724866-CU-OE-CXC) (“Chen”). Chen was filed over five

                                  19                    years ago in May of 2014. Although the Proposed Intervenors argue that the

                                  20                    Chen trial was set to begin on January 14, 2019 but has been stayed pending the

                                  21                    resolution of the matters in this Court, the trial was for phase 1 of a two phase

                                  22                    trial. Phase 1 would determine whether the Proposed Intervenors were

                                  23                    aggrieved under PAGA.6 If the Proposed Intervenors were successful at phase

                                  24
                                       5
                                  25    The Tier 1 PAGA period is 381 days long, corresponding to roughly 12.7 months. Recovery of
                                       $18.02 per monthly pay period equates to $228.85 per employee prior to payment to the LWDA.
                                  26   6
                                        MSSB argues that the two Proposed Intervenors may well be dismissed at Phase 1 because they
                                  27   do not qualify as “aggrieved” under PAGA. On February 12, 2016, the Financial Industry
                                       Regulatory Authority (“FINRA”) issued a decision finding that Proposed Intervenor Chen
                                  28   submitted false expense reports reeking reimbursement from MSSB for expenses she did not incur
                                       and barred her from working at any FINRA member firm. [Dkt. No. 37-2]. The FINRA decision
                                                                                       8
                                   1                     1, MSSB would be able to appeal the judgment up through the California

                                   2                     Supreme Court. Assuming the phase 1 appeals were exhausted in the Proposed

                                   3                     Intervenor’s favor, phase 2 would commence as a representative action and, if

                                   4                     successful, might also lead to two rounds of appeals. Then, assuming those

                                   5                     appeals were resolved in the Proposed Intervenors’ favor, the 1,800 financial

                                   6                     advisors who have entered into arbitration agreements might have to initiate

                                   7                     arbitration against MSSB; the parties dispute whether the arbitrators would give

                                   8                     deference to the judgment in Chen. Further, the proposed settlement here

                                   9                     would also provide relief to the 600 financial advisors who have already

                                  10                     executed releases. In short, final approval of this settlement would provide

                                  11                     members of the class and the aggrieved employees more certain and

                                  12                     expeditious relief.
Northern District of California
 United States District Court




                                  13   CLASS CERTIFICATION REQUIREMENTS

                                  14          6. The Court hereby conditionally certifies the proposed Class contained in the Settlement

                                  15             Agreement and conditionally finds that, solely for the purposes of approving this

                                  16             Settlement and for no other purpose and with no other effect on this litigation, the

                                  17             proposed Settlement Class meets the requirements for certification under Federal Rules

                                  18             of Civil Procedure, Rules 23(a) and 23(b), including that: (a) the proposed class is

                                  19             ascertainable and so numerous that joinder of all members of the class is impractical;

                                  20             (b) there are predominant questions of law or fact common to the proposed class, and

                                  21             there is a well-defined community of interest among the members of the proposed class

                                  22             with respect to the subject matter of the litigation; (c) the claims of Representative

                                  23             Plaintiff Brandon Harvey are typical of the claims of the Class Members; (d)

                                  24

                                  25
                                       states that Chen would order client gifts from a business such as Nordstrom, obtain a receipt,
                                  26   submit the receipt for reimbursement, and then cancel the order so that her personal credit card
                                       was not charged. Proposed Intervenor Lucadano has not submitted a PAGA letter to the LWDA
                                  27   and is relying on Chen’s PAGA letter to pursue PAGA claims. Declaration of Andrew Livingston
                                       in Support of Defendant’s Opposition to Motion to Intervene at ¶ 15 [Dkt. No. 37-1].
                                  28   Additionally, prior to Lucadano’s termination, he only utilized $809.27 in AFG funds during the
                                       applicable PAGA period.
                                                                                         9
                                   1          Representative Plaintiff Brandon Harvey and Class Counsel will fairly and adequately

                                   2          protect the interests of the Class Members; (e) a class action is superior to other

                                   3          available methods for an efficient method of adjudication of this controversy; and (f)

                                   4          Class Counsel is qualified to act as counsel for the Representative Plaintiff in his

                                   5          individual and representative capacities.

                                   6       7. For the purposes of this Settlement, the Class Members are defined as follows: all

                                   7          individuals employed by MSSB within the State of California from May 14, 2014,

                                   8          through the date of Preliminary Approval who worked as Financial Advisors and/or

                                   9          Private Wealth Advisors. Aggrieved Employees are defined as all current and former

                                  10          Financial Advisors who were employed by Defendant within the State of California at

                                  11          any time during April 23, 2013 through the date of Preliminary Approval.

                                  12       8. “Cash Payment Amount” is Eight Million Five Hundred Thousand Dollars
Northern District of California
 United States District Court




                                  13       9. The Court provisionally finds, solely for the purposes of approving this Settlement and

                                  14          for no other purpose and with no other effect on this litigation, Edward J. Wynne,

                                  15          Wynne Law Firm, James F. Clapp, Clapp & Lauinger, LLP, and David S. Markun,

                                  16          Markun Zusman Freniere & Compton, respectively, for purposes of this Settlement to

                                  17          be sufficiently experienced and proficient in class action proceedings that they may act

                                  18          as Class Counsel.

                                  19       10. The Court provisionally appoints, solely for the purposes of approving this Settlement

                                  20          and for no other purpose and with no other effect on this litigation, Representative

                                  21          Plaintiff Brandon Harvey as Class Representative.

                                  22   SETTLEMENT ADMINISTRATOR

                                  23       11. The Court provisionally appoints KCC, Inc. as Settlement Administrator to carry out

                                  24          the Administration duties as set forth in the Settlement.

                                  25       12. This includes, but is not limited to, the duty to build and maintain a website which shall

                                  26          provide all pertinent information relating to this class settlement, including, without

                                  27          limitations, the following: (i) the name of the lawsuit; (ii) the name of the Court; (iii)

                                  28          Settlement Administrator's name and contact information; and (iv) Class Counsel's
                                                                                     10
                                   1            names and contact information. Also, available on the website will be the following

                                   2            documents in PDF-format for download: The Settlement, the Second Amended

                                   3            Complaint, the Notice, and the Preliminary Approval Order.

                                   4   NOTICE

                                   5       13. Except as noted below, the Court finds that the proposed “Notice of Pendency of Class

                                   6            Action” (“Notice”) attached to the Settlement Agreement as Exhibit 1, fairly, plainly

                                   7            and adequately advises Class Members of (i) the terms of the Settlement; (ii) the

                                   8            automatic distribution of the Individual Settlement Payment to Settlement Class

                                   9            Members; (iii) the amount of the Individual Settlement Payment expected to be paid;

                                  10            (iv) how to dispute the number of workweeks upon which their Individual Settlement

                                  11            Payments will be based; (v) the Released Claims; (vi) the conditional certification of

                                  12            the class; (vii) the Preliminary Approval of the Settlement; (viii) the procedures for
Northern District of California
 United States District Court




                                  13            submitting a valid Exclusion Request to opt out of the Class; (ix) the procedures for

                                  14            objecting to the Settlement and appearing at the Final Approval Hearing; and (x) the

                                  15            date set for the Final Approval Hearing. The Court further finds that the Notice clearly

                                  16            comports with all constitutional requirements, including those of due process.

                                  17            However, the form of proposed Notice of the Class Action Settlement shall be edited to

                                  18            inform class members that objections should (not must) be in writing, should (not

                                  19            must) identify information, and strike the following language: “If you file a timely

                                  20            written objection” and “Late objections may not be considered.”

                                  21       14. The Court hereby APPROVES the Notice, as modified.

                                  22       15. Notice shall be provided to the Class Members as set forth in the Settlement. Defendant

                                  23            will provide the Settlement Administrator with each Class Member’s full name; last

                                  24            known mailing address and telephone number; Individual Class Pay Periods and

                                  25            Individual PAGA Periods that each individual worked as a Financial Advisor (the

                                  26            “Class List”) within 30 days after Preliminary Approval.

                                  27       16. The Settlement Administrator shall mail a copy of the Notice within 14 calendar days

                                  28            after receiving the Class List spreadsheet.
                                                                                      11
                                   1       17. The Court further finds that the mailing of the Notice to Class Members at their last

                                   2          known home addresses as specifically described within the Agreement, with measures

                                   3          taken for verification of home addresses and skip tracing set forth therein, constitutes

                                   4          an effective method of notifying Class Members of their rights with respect to the class

                                   5          action, the Settlement, their right to request exclusion from the Class.

                                   6   EXCLUSIONS/OPT-OUTS

                                   7       18. The Court hereby APPROVES the proposed procedure for exclusion or opting out of

                                   8          the Class. Each Class Member will have 45 days after the date on which the Settlement

                                   9          Administrator first mails the Notice to opt out by submitting an Exclusion Request as

                                  10          set forth in the Settlement.

                                  11       19. Class Members, with the exception of the Class Representative, may opt out of the

                                  12          Settlement. Class Members who wish to exercise this option must timely submit a
Northern District of California
 United States District Court




                                  13          request for exclusion to the Settlement Administrator postmarked by the

                                  14          Objection/Exclusion Deadline or 15 calendar days after a Notice is re-mailed in the

                                  15          case of an undelivered Notice, whichever is later. The request for exclusion must

                                  16          include the Class Member's name, signature, date, last 4 digits of Social Security

                                  17          Number, and the following statement, or something similar to, "I request to be

                                  18          excluded from the class action proceedings in the matter of Brandon Harvey v. Morgan

                                  19          Stanley Smith Barney LLC, Case No. 18-cv-02835." The date of the postmark on the

                                  20          return-mailing envelope shall be the exclusive means used to determine whether a

                                  21          request for exclusion has been timely submitted.

                                  22       20. No request for exclusion may be made on behalf of a group of members of the Class.

                                  23       21. By submitting such a request for exclusion, a Class Member shall be deemed to have

                                  24          exercised his or her option to opt out of the class action lawsuit. Any member of the

                                  25          Class who requests exclusion from the Settlement will not be entitled to any share of

                                  26          the Settlement, will not be bound by the Settlement, and will not have any right to

                                  27          object, appeal or comment thereon. Members of the Class who fail to submit a valid

                                  28          and timely request for exclusion shall be bound by all terms of the Settlement and the
                                                                                    12
                                   1             Final Judgment entered in this Action, regardless of whether they otherwise have

                                   2             requested exclusion from the Settlement. However, Class Members must cash their

                                   3             Individual Class Settlement Payment checks in order to release their Fair Labor

                                   4             Standards Act claims.

                                   5          22. Any person who wishes to object to the Settlement should notify the Court, with

                                   6             service to Class Counsel, and defense counsel, in writing of his or her intent to object

                                   7             to the Settlement by following the procedures set forth in the Notice. Objections to the

                                   8             proposed settlement should be in writing, clearly identify the case name and number,

                                   9             and comply with Federal Rule of Civil Procedure 23(e)(5). The objections should be

                                  10             filed with the Court, pursuant to the Court's procedures for filing, by the

                                  11             Objection/Exclusion Deadline or 15 calendar days after the re-mailing of the Notice in

                                  12             the case of an undelivered Notice, whichever is later.
Northern District of California
 United States District Court




                                  13          23. No later than 14 calendar days before the Final Approval and Fairness Hearing, the

                                  14             Settlement Administrator shall file a declaration under penalty of perjury advising the

                                  15             Court with a complete list of all members of the Class who have timely requested

                                  16             exclusion from the Settlement.

                                  17   PAGA

                                  18          24. Pursuant to applicable case law, PAGA aggrieved employees have no ability to exclude

                                  19             themselves or object to the Settlement. Sakkab v. Luxottica Retail N. Am., Inc., 803

                                  20             F.3d 425, 436 (9th Cir. 2015) (“Unlike Rule 23(c)(2), PAGA has no notice

                                  21             requirements for unnamed aggrieved employees, nor may such employees opt out of a

                                  22             PAGA action.”); Ochoa-Hernandez v. Cjaders Foods, No. 08-2073, 2010 WL

                                  23             1340777, at *5 (N.D. Cal. Apr. 2, 2010) (“Unnamed employees need not be given

                                  24             notice of the PAGA claim, nor do they have the ability to opt-out of the representative

                                  25             PAGA claim. There is no indication that the unnamed plaintiffs can contest a

                                  26             settlement, if any, reached between the parties.”). Therefore, the exclusion and

                                  27             objection procedures above do not apply to any PAGA Aggrieved Employee unless

                                  28             they are also a Class Member, and then only to their participation in the Class.
                                                                                       13
                                   1   FINAL APPROVAL

                                   2         25. Pursuant to the Northern District of California Local Rules, no later than 35 days

                                   3             before the Final Approval Hearing, Plaintiff will file a Motion in Support of Final

                                   4             Approval of the Settlement. Class Counsel shall file their motion for approval of their

                                   5             Fees and Expenses, the Named Plaintiff Award, and the Administration Costs,

                                   6             estimated to be $2,593,750, $10,000, and $32,000, respectively, no later than 21 days

                                   7             before the Objection/Exclusion Deadline.

                                   8         26. The Final Approval hearing shall be held on February 5, 2020 at 2 p.m. in Courtroom

                                   9             2, to determine whether the proposed Settlement is fair, adequate, reasonable, and

                                  10             should be approved, and to determine the Fee and Cost Awards.

                                  11         27. Should the proposed Settlement be approved, following the Final Approval Hearing,

                                  12             the Court shall enter judgment in accordance with the Settlement that will adjudicate
Northern District of California
 United States District Court




                                  13             the rights of all Settlement Class Members and Aggrieved Employees, including the

                                  14             named Plaintiff.

                                  15   CHRONOLOGY

                                  16         28. Unless otherwise modified by the Court, the dates for performance are as follows:

                                  17   Date/Triggering Event:                           Event:
                                  18   Order Granting Preliminary Approval              Court orders preliminary approval of
                                  19                                                    Settlement and conditional certification of
                                  20                                                    Class
                                  21   30 calendar days after Preliminary Approval      Deadline for Defendant to provide the Class
                                  22                                                    List to Settlement Administrator, Settlement ¶
                                  23                                                    67
                                  24   14 calendar days after receipt of Class List     Deadline for Settlement Administrator to mail
                                  25                                                    Notice, Settlement ¶ 68
                                  26   45 days after Notice mailed                      Last day for any Class Member to object to the
                                  27                                                    Settlement or request exclusion from the
                                  28                                                    Class, Settlement ¶ 32. (The motion for
                                                                                      14
                                   1                                                    attorneys’ fees shall be filed 21 days prior to
                                   2                                                    the deadline for objections/opt outs.)
                                   3   7 calendar days after the Exclusion Deadline     Last Day for Settlement Administrator to
                                   4                                                    provide Parties with list of all valid exclusion
                                   5                                                    requests, Settlement ¶ 74
                                   6   10 calendar days or more before Final            Last Day for Settlement Administrator to
                                   7   Approval Hearing                                 provide declaration of due diligence and proof
                                   8                                                    of mailing for Notice to counsel, Settlement ¶
                                   9                                                    70
                                  10   35 days before Final Approval Hearing            Last Day for Class Counsel to file Motion for
                                  11                                                    Final Approval.
                                  12
Northern District of California
 United States District Court




                                  13

                                  14   NO ADMISSION OF LIABILITY, RETURN TO PRIOR STATUS, AND STAY OF
                                  15   PROCEEDINGS
                                  16         29. Neither the Settlement nor this Preliminary Approval Order is an admission of liability,
                                  17            fault, or wrongdoing by Defendant, or any of the Releasees, nor a finding of the
                                  18            validity of any claims in the Action or any violation of law. Neither this Preliminary
                                  19            Approval Order, the Settlement, nor any document referred to herein, nor any action
                                  20            taken to carry out the Settlement is, may be construed as, or may be used as, an
                                  21            admission or concession by or against Defendant, or any of the Releasees, of any fault,
                                  22            wrongdoing, or liability whatsoever. Neither this Preliminary Approval Order, any
                                  23            term or provision of the Settlement, nor any of the negotiations or proceedings
                                  24            connected with it, shall be offered or received in evidence in any pending or future
                                  25            civil, criminal or administrative action or proceeding, other than such proceedings that
                                  26            may be necessary to consummate or enforce the Settlement; however, Defendant or
                                  27            any Releasee may use the Settlement and/or any related document, in any action that
                                  28            may be brought against them in order to support a defense or counterclaim based on
                                                                                      15
                                   1             principles of res judicata, collateral estoppel, release, good faith settlement, judgment

                                   2             bar or reduction, accord and satisfaction, or any other theory of claim preclusion or

                                   3             issue preclusion or similar defense or counterclaim.

                                   4         30. IT IS FURTHER ORDERED that if for any reason the Court does not execute and file

                                   5             an Order Granting Final Approval, or the Payment Obligation and Release Date, as

                                   6             defined in the Settlement, does not occur for any reason whatsoever, the Settlement

                                   7             that is the subject of this Order, and all evidence and proceedings had in connection

                                   8             therewith, shall be without prejudice to the status quo ante rights of the Parties to the

                                   9             litigation, as more specifically set forth in the Settlement, and this Order shall be

                                  10             rendered null and void and shall be vacated.

                                  11         31. IT IS FURTHER ORDERED that pending further order of this Court, all proceedings

                                  12             in this matter except those contemplated herein and in the Settlement are stayed.
Northern District of California
 United States District Court




                                  13         IT IS SO ORDERED.

                                  14   Dated: September 5, 2019

                                  15

                                  16
                                                                                                    William H. Orrick
                                  17                                                                United States District Judge
                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                        16
